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                                                                MOV
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                 IN THE UNITED STATES DISTRICT COURT
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              FOR THE CENTRAL DISTRICT OF CALIFORNIA
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12                                             Case No. 5:17-CR-00118-MWF
      UNITED STATES OF AMERICA,
13                                             ORDER OF DETENTION
                      Plaintiff,
14                                             rFed. R. Crim. P. 32.1(a)(6);
                      ►~~                      18 U.S.C. § 3143(a)(1)]
15
      EDWIN VILLA,
16
                      Defendant.
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20                                            I.
21         On November 4, 2021, Defendant Edwin Villa ("Defendant") appeared
22   before the Court for initial appearance on the petition and warrant for revocation of
23   supervised release issued in this matter, Case No. 5:17-CR-00118-MWF. The
24   Court appointed Deputy Federal Public Defender Lakeshia Adeniyi-Dorsey as
25   counsel for Defendant.
26   ///
27   ///
28   ///
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 1                                                 II.
 2         Pursuant to Federal Rule of Criminal Procedure 32.1(a)(6) and 18 U.S.C.
 3   § 3143(a)following Defendant's arrest for alleged violations) of the terms of
 4   Defendant's ❑probation / ~ supervised release, the Court finds that:
 5         A.      ❑     Defendant submitted to the Government's Request for
 6   Detention;

 7
 g         B.      ~     Defendant has not carried his burden of establishing by clear
 g   and convincing evidence that Defendant will appear for further proceedings as

10   required if released [18 U.S.C. § 3142(b-c)]. This finding is based on:

11         • Limited bail resources;
12         • Multiple arrests related to violations of community supervision;
13         • History of drug use;
14         • Nature of current allegations.
15
16         C.      ~     Defendant has not carried his burden of establishing by clear
1~   and convincing evidence that Defendant will not endanger the safety of any other
ig   person or the community if released [18 U.S.C. § 3142(b-c)]. This finding is based

19   on:
20         • Nature of current allegations;

21         • Criminal history that includes multiple firearm matters and felony
22              convictions;
23         • History of drug use.

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 1                                       III.
 2        IT IS THEREFORE ORDERED that Defendant be detained pending further
 3   proceedings.
 4
 5   Dated: November 4, 2021

 6                                              /s/
 7                                         MARIA A. AUDERO
 g                                     UNITED STATES MAGISTRATE JUDGE

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